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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



MILLARD COURTNEY FARMER, JR.                                          CASE NO.: A18-52363-JWC
1196 DEKALB AVE
ATLANTA, GA 30307                                                     CHAPTER: 13



                   NOTICE REQUESTING YOUR 2018 TAX RETURN AND
                    NOTICE CONCERNING YOUR 2018 TAX REFUND

        The Trustee requests a copy of your 2018 Federal Income Tax Return, including all
supporting schedules be provided within thirty (30) days of filing the return or no later than April 30,
2019. Please do this by providing a copy of your return to your bankruptcy attorney so that they may
review the return with you and then provide a copy to our office. If you are not required to file a tax
return for 2018, please notify your attorney.

         Additionally, the terms of your Chapter 13 Plan may require you to pay your federal tax
refund to the Chapter 13 Trustee to be distributed to your creditors. If you are not certain of your
requirement, please contact your attorney. You will need to mail the tax refund money payable to
the Chapter 13 Trustee at the address below. Please make a notation that the funds are from
your tax refund. You may also pay online using the Trustee’s EPAY system. Go to the website for
further information: http://www.njwtrustee.com/debtor-resources/e-pay/.

       Failure to comply with the terms of your confirmed plan may result in the filing of a Motion
to Dismiss your case. If you have any questions concerning this matter, please contact your
bankruptcy attorney.


On the 14th day of February, 2019, this Notice was mailed to the Debtor(s) at the above address by
first class mail.

__/s/_________________________
Nancy J. Whaley
Standing Chapter 13 Trustee
Bar Number: 377941
Suite 120, Suntrust Garden Plaza
303 Peachtree Center Avenue
Atlanta, GA 30303
678-992-1201
